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 9
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10
                                    NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                         )   CASE NO. 20-CR-00249 RS
                                                       )
14           Plaintiff,                                )
                                                       )   [PROPOSED] ORDER EXCLUDING TIME
15      v.                                             )   FROM DECEMBER 14, 2021 TO MARCH 8, 2022
                                                       )   UNDER THE SPEEDY TRIAL ACT
16   ROWLAND MARCUS ANDRADE,                           )
                                                       )
17           Defendant.                                )
                                                       )
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20           On December 14, 2021, the defendant Roland Marcus Andrade, represented by counsel, and the
21 United States, through counsel, appeared before the Court for a status conference in the above pending

22 criminal action. At the request of the parties, the Court continued the matter to March 8, 2022, at 2:30

23 p.m., for a further status conference. The parties also requested that the Court exclude time from the

24 computation of the Speedy Trial Act from December 14, 2021 to March 8, 2022.

25           Pursuant to the agreement of the parties, and for good cause, the Court finds it is appropriate to
26 exclude time from the computation of the Speedy Trial Act deadlines. Based on the representations of
27 counsel at the status conference regarding the time necessary to review the discovery produced by the

28 government, the Court finds that an exclusion of time is necessary to permit effective preparation of

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 1 counsel. Failure to grant an exclusion of time and a continuance of the matter would deny counsel the

 2 reasonable time necessary for effective preparation, taking into account the exercise of due diligence,

 3 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by

 4 excluding the time from computation under the Speedy Trial Act outweigh the best interests of the

 5 public and the defendant in a speedy trial.

 6          Therefore, IT IS HEREBY ORDERED that the time between and including December 14, 2021

 7 to March 8, 2022 shall be excluded from computation under the Speedy Trial Act, pursuant to 18 U.S.C.

 8 § 3161(h)(7)(A), (B)(ii), and (B)(iv).

 9          IT IS SO ORDERED.

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12 DATED:
                                                         HONORABLE RICHARD SEEBORG
13                                                       United States District Judge

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     [PROPOSED] ORDER                               2
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